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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                    MEMORANDUM

Honorable Morrison C. England Jr.            RE: Sean McClendon
United States District Judge                     Docket Number: 0972 2:11CR00353-001
Sacramento, California                           PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


Sean McClendon is requesting permission to travel on a cruise from Long Beach, California, to
Catalina Island, California, and to Ensenada, Baja California, Mexico.        Sean McClendon is
current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date:       On November 5, 2015, Sean McClendon was sentenced
for the offense of 18 USC 1349 – Conspiracy to Commit Mail Fraud (Class B Felony).


Sentence Imposed: 20 months custody in the Bureau of Prisons, 36 months Supervised Release,
$100 Special Assessment (Paid), and $708,738.78 Restitution (Paid).


Dates and Mode of Travel: From March 11, 2018, through March 15, 2018. On the cruise ship
Carnival Imagination.


Purpose: Will be traveling with his wife to celebrate his birthday and anniversary.




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Sean McClendon
         Docket Number: 0972 2:11CR00353-001
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                  Respectfully submitted,

                                      /s/ Tim Mechem

                                      Tim D. Mechem
                         Supervising United States Probation Officer

Dated:     December 22, 2017
           Fresno, California
           TDM/rmv




                                ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved

Dated: January 10, 2018




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                                                                                              REV. 03/2017
                                                               TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
